                      Case 2:13-cv-00193 Document 775-41 Filed on 11/19/14 in TXSD Page 1 of 2
From                                     Peters Joe
To                                       McCraw     Steven   MacBride     Cheryl Bodisch          Robert    Nolte   Candace

Sent                                     7122013     43800 PM
Subject                                  FW 12 July EIC Report



FYI



From Rodriguez Tony
Sent Friday July 12 2013 430 PM
To Peters Joe
Cc Watkins Paul              Bell   Stephen        Winkley   Salestus    Berkley Johnnie        Silva   Samuel Valenzuela                    Estella   Valdez      Tomas
Hubbard         Barbara Garcia Joseph               Smith Janie Melcher         Lori   Gomez      Enrique    Mastracchio                  JoeAnna    Ron    Grahovec
Crawford John Vinger Tom Cesinger Katherine Hunter Stephanie                                      Wells Charles Barber David                        Muniz    Barbara

Segundo         Carolina

Subject         12    July EIC Report



1    inquiry

O issuances



                                                                         12   July EIC   Report

                       Issuance               0
      1A
                        Inquiry               0

                       Issuance               0
      1B
                        Inquiry               0

                       Issuance               0
      2A
                        Inquiry               0

                       Issuance               0
      2B
                        Inquiry               0


                       Issuance               0
       3
                        Inquiry               0


                       Issuance               0
       4
                        Inquiry               0


                       Issuance               0
       5
                        Inquiry               0


                       Issuance               0
      6A
                        Inquiry               0

                       Issuance               0
      6B
                        Inquiry               1        Austin   South   had one   inquiry   but the   person already had a valid Texas                     ID   Card

    Total   EICs Issued      Today            0


    Total   EIC Inquiries Today               1



    Total   EICs Issued      to   Date        2

    Total   EIC Inquiries to Date             31




vr




7                                                                                                 2:13-cv-193
                                                                                                                     exhibitsticker.com




            i   WIt
                      Baez                                                                        09/02/2014
Customer Operations Senior Manager                      South    and West

Driver License         Division
                                                                                                DEF1478
Texas       Department of Public          Safety

tony rodriguezndpstexasgov
5124245657             0
                                                                                                                                                                       TEX0507736
                 Case 2:13-cv-00193 Document 775-41 Filed on 11/19/14 in TXSD Page 2 of 2
5127399709        C
5124245233        F
The    Driver   License   Division   is   committed to quality and excellence   in   customer service   Please   share your thoughts

with   us via our online customer service survey at httpwwwsurveyutexasedutxdps




                                                                                                                                  TEX0507737
